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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-11-165-5
                                                 §
                                                 §
                                                 §
NATHANIEL GORDON, III                            §

                                            ORDER

          The defendant’s Motion to Allow Defendant to Travel is granted. The defendant may travel

for business to North Miami, Florida on Thursday, May 31, 2012 through Saturday, June 2, 2012.

He must provide his pretrial services officer a copy of his itineraries and plane ticket and he must

report by telephone and in any other way the pretrial services officer directs within 8 hours of his

return.

                 SIGNED on May 30, 2012, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
